Case 08-11586-KG Doc1 Filed 07/29/08 Page 1 of 27.

B81 (Official Form) 1 (1/08)

Do, Page |
pa
United States Bankruptcy Court y Voluntary Pedition
District of Delaware ee
ct ibang isin soot ri ai
; Name of ‘Debtor GF individoal, enter Last, First, Middle): ‘| Nante of Joint Debtor (Spouse) (Last, First, Middie}:
| Mervyn’ 3 oldings, LLC, a Delaware limited Kability company - NIA . :
| All Other Names used by the Deblor in the last 8 years All Other Names used by the Joint Debtor ia the last 8 years
Gnelude martied, maiden, and wade names}: Ge nclade martied, aiden, and trade samedh
Mecvya's .
Last four digits of Soc. Sec. No/Compleie ETN or other Tax LD. No. {if more than one, Last four digits of Sen See. No/Conmatete EIN or other Tax ip BD. Ne. ~Ginon than 10, st state #
shee ally: . all: ,
26-144793'1 1 NIA a
F Street Address of Debtor (No. & Street, City, State : _ | Sureet Address of Joint Debior (Ne, & Sees iy, Sane :
22301 Foothitt Boulevard NIA .
Hayward, CA o5sat - . :
County of Resideace or of the Principat Place of Business; oo : County of Residenes oro the Principal Place af Baines
Alameda, California . . } OMIA : ov escs os tnvemeosta é atte ence Ljutele team va sermons snare un sunt st arcu ff
Mailing t Address of Debtor (if different from strect address); "TE Muiling Address off ‘oint Debi ait diffrent From side! wes
WIA NIA
Ee : ZIP CODE.
Location of Principat Assets of Business Debtor (if diffrent from street address above}:
ZIP CODER
‘Type af Debtor Do, Chapter of Sakrapey Coie Under Which
(Form of Organization} Nature of Bushiess . : the Petitiva is Filed (Check one box) -
_{Chosk one box} : (Check ane box} L. Pe
1 . : Cy Chapter 7 CJ Chapter 13 Petition for -
oO ladividual Cincindes foint Debtors) CT Health Care Business LJ Chapter 9 Recognition ofa Foreia
| See Exhibit D on poge 2 of thix form. CT Single Asser Real Hetate EI Chapter 11 Mai Proceeding. |.
| El Corporation (includes LLC and LLP5 wsdefined HH USC. C1} Chapter 12 / . C8 Cheaper 13 Pelion for
Ll Partnership - Ss1GIB) CI Chapter 3 _ Recognition of a Forcign
I] Other (if debtor is wt one of the Railroad . ‘ “Nonenait Proceeding :
above entities, chock this box and 1 Fy Stockbroker :
.., State type af entity below} 1 Commodiny Brisker
oO : C} Cleacing Bank,
Bl Other
Fax tnengl Entity a
Natu
2 (Check bo, Hmppicable) ‘(ohne a ee
o Debtori is tax-exempt organization Cj Debls ne pufniely consuiner fa Debts are prisarily
under Title 26 of the United States Debts, defined ia 1) USC, _—; business debts.
: Code (the Internal Revenue Code). -  § H01{8) as “Incurred by an 8 7
: oo individual pdmaniy dora
personal, family, or household
. mo Co, purpose.” :
: : . Filing Fee (Check one box} . :7 Chapter ff Debtors
; Ts] Full Filing Fee attached co , Check one box .
en . . ‘ (2 Debtor is a somall Guginess a defined i in TT EES, $ 1GES1Dy
@ 11] Filing Fee to be paid in Installments {applicable to individuals only}.
Must attach signed application for the cou’s consideration certifying : £9 Dehior is uot a smutt business debtar as defined § in LEU, 8 at i
that the debtor is unahit to pay Vee execpl in installments. Rule 1006(b}, § LOTS 13,
See Oftickal Foret No, TA,
| Cheek it ,
(7 Filing Fos watyer requested fapplicable to chapter? individuals onty}, (C] Debtor's aguragate noncontingont Heuidated dchts (excluding
Must attach signed application far the court's consideration, See Official Forms 38. Debig owed to iusiders or affiliates} are fess than $2,190,009.
| Sttistienl/Administrative laformation . ee ee ee eee btm owen oe wen eee
a Check all applicable boxes:
Debr est that ela: ibutia to
w meatier mates that finds will be available for stl on msooared (J A plans being fled with this petition,
TI Debtor estivaates that, after any ence property is exiduded and admninistealive expenses paid, [ £] Acceptances of the plan were solicited prapetition fia one
i there will be no turds avatlable for distribution ip ansesured creditors, ormore classes of credlions, i in ucoordanee with IE USC. § 1126(b}. -
Estimated Number of Creditors " : : THIS SPACE IS FOR CORE :
. qs $06 0g. 2- 1,600. 500%. 16,00). 25,003 s0,901- OVER : USE ONLY - :
45 99 "109 999 5,800 19,060 25,040 50,000 jG0000 HHLOR .
0 a Gi £3 Oo ci TS nn A ered
Estimated Assets ‘
4 | Oo 6U6g ay go . a o
Bio SS0,00l to S1OH,001 te $500,001 F1.000,601 $10,000,601 50,000,001 250,000,002 $300,000.00) Mere than
$50,000 $100,000 sseteo = te St w Si te S30 wed wn S50 to $4 billing $1 bition
- million million aniition militon mifion : .
Estimated Liabithies
oO oi C Cl ge fl EI  . 9
Stie = $55,001 ia $100,001 © $500,001 $1,000,001 $16,000,001 650,000,801 $106,000,007 $500,600,001 More then
. 350,00) $160, 800, $500,000 to Bh te $ID to $30 Jo 3300. te $506 to 3} bilkien 41 billion
. as million — rillion inillion imifiioty million _-

_- REFI-3306326-1
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BL (Official Form) 1 (1/08)

aneage Page 2
Vubontary Petition / Name of Debtor(s}: .
(This page must be completed and filed in every case) Mervyn's Holdings, LLC, a Delmvace tinited Hability company |

Prior Bankruntey Cage Filed Within Last. 3 Years {F rore than two, attach additional sheet)

Lovation & Case Nuvahert Date Filed:
Where Filed: ~ None- .
Yoestion I Case Naniber Date Filed:
Where Piledy 5 . : .
Pending Bankruptcy Case Pied hy aay Spouse, Partner or ‘ANiiate of this Debtor (if nore thun bad, allah additional sheet)
Name of Debtor; See Attacked Rider & Case Number: Gate Filed:
District: , = Relationship: ~—s fudge:
ea ; ne

- Exh
(Te be completed if debtor is an individaal
whose debls are primarily constuter debte)

Exhibit A

{fp be completed if debtor is required ta file periodic reports (e.g,, foting 10K, and 100} with
the Seuurities and Exchange Commission pursuant to Seotion 13 or 15(d) of the Securities : - . 4

Exchange Act of 1534 and is requesting relief under chapter 11) Ee i, the altomey for the petitioner named in the foregoing petition, dectave thal 7 have informed
veg ‘ p tle petitioner that [he or she] may proceed under chapter 7, £1, 12 or 13 of Hite 11, United

p States Code, and have explained the relief available under each such chapter. T further ceniiy
E lhetT delivered 16 the debtor the notice equired by 11 WLS.C. §342(b),

Cl, Exhibi A is attached and made a part of this petition.

Signature ef Attorney for Debtar(s} Date

Exhic

Does the debtor own or have possession of any property (hat poses at is afteged to pose a threat af insminent and identifiable harm to public health or safety?
FCT Yes, and Exhibit C is attached and made a part of tis petition. .
” No”

Exhibit &

z flo be completed by every individual debtor. Ifa joint petition is fied, each sponse most complete and attach a separate Eshibit BD)

1. . eubibitD completed ond sipned by the debtors attached and made apat af this petition,

i iftbis is ajoint petition . ,
C} BuhibivD also wor

signed by the foint debtor is attached and made a port of thig petition,

Infurnmition Regarding the Debtor - Venue
(Check any applicable box)

Debtor has bees domicited or has hud a residence, principal place of business, or principal axseis in this Disisiet for 180 slays anmediately
preceding the date of this petition or for a longer part of such E80 days drum in any other District.

There is a bankvepiey case canceriing debtor's affiliate, general partner, ot partnership pending in this Distriat,
Debtor is a debtor in a foreign proceeding anit has ths principal place of business or principal assets in the Untied Stites in this District,

or has no principal place of business or assets in the United States butis a defendant in an action or Proceeding [in a federal or state cour]
in this District, or the interests of the parties will be served iq reward to the relief soupht in this District.

Statement by a Debtor Wha Resides as 4 Tenant of Residential Rroperty
_ Check all appiicabie boxes.

Landlord has a judgment against the debtor fur possession of debtor's resident, (If box chesked, complete the following.)

(Name of landlord that abtained judgment}

{Addvess of landlord}
Debtor clains that under applicable nonbanknyptoy Ine, there are circumstances under which the debtor would be permiued to aura the
entire monetary defiult that pove tise fo the judgment for possessinu, after the judgment for possession was entered, aad

Debtor bas included in this petition the deposit with the court af any rent shat would become due ducdug the Bi-day perlod after the
Gling of the petition. : o-

REF £-3306326-1

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BL (Official Form) 1 (1/08)

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Page 3
Voluntary Petition ‘Name of Debtor(s}; Mervyn's Holdings, Le & Delaware dineited liability conspany
(be cormpleted atid filed i in every cose} si rinses

Stematures

cite

: - Siguature(s) oF Debtor(s) fladividvatiloint}
1 declare under pitialty af perjury that the information provided in this petition is wae aad
correct,
PIE petitioner is an individaal whose debis are primorily consumer debts and has chosen to file
vider chapter 7] Tam avvare that { may proceed ander chapter 7, EL, 12. or 13 of title 13,
United States Code, understand the relief available ander eacl sath chapter, wad choose (6
| proceed under chapter 7.
[if pa ottomey represents me and ro bankruptey: petition preparer signs the petition } Ieave
obtained atid read the native required by § 242(b) of the Bankruptcy Cade,

i request relief in eecordane with the chapter of title 71, United States Code, spovitied iy this.
Petition,

, “ Styoature of Debtor

Signature of Joint Debtor /

Telephone Muesber {if aot ropmesented by attorney)

Date

to Pursuant 16 § 1525 of title 11, Ualed States Code, F request relie?.

Signature ofa Foreign Representative

J declare under penalty of perjury that the information provided iy this petition ist ‘tue und
earrest, hat] ava the Fonsign representative of 4 debtor in a forotgn proceeding. and that lam
authorized to [ile this petition.

(Cieck ouly one box}
T] i request relief in accosdanes with chapter 15 of tile Ht, United

Srales Cade, Certidied copies of the domunents requized by $ 1515
eCtite £1] are attached.

in accordance with the chapter of titly 11 specified in this petition,
A certified copy of the order granting reepgnition of the foreign
main proceeding is attached,

x

(Signature of Bareigs Representative) oe i

(Printed Name of Foreign Representative}

Date

» . Signature of Attorney
et CEP SC AL L—
Signature of Antomey for Debtor(s)
Mark D. Collins, Esq.
Richards, Layton & Finger, 2A.
z One Rodney Square -
i DON, King Street
Wilalapton, Delaware 19605

Telephone: (302) 651-T700
Facsimile: (302) 651-7761

duly 29,7008 —
Date

1 dectane under penalty of perjury that: (1}1 ain a bankruptey petition preparer ns dined i tH

. Signature of Debtor (Corpor nition Partnership)
t declare ‘under peunlty of perjuey that the information provided ip this petition ig true and
# correct, and that T have been authorized to file this putitian on behalf of the debtor.

‘The debtor requests rellefin aceordance with the chepter of title 11, United States Code,
specitied 3 in this petition.

x CATE

Signature of Authorized Individaal
Charles R. Kurth

Printed Name of Authorized tndividaat
Executive Vice President, CHO and CAD
Tite of Authorized lndisddnal
duly 29, 2608
Date | .

Bf 1 (2: 28 CAS £238,

sae é
Siguafare of Non-Aturney Bankrupitey Petition Propares oye ee

TETS.C, § 110, (2) 1 prepared this dosunont far compensation and have provided the debtor -
with 3 copy of this document and the novees and infarmation mquired under 11 U,5.0,

85 EIO(b), 110(h), and 342(b); and, (3) ifrules or guidelines have been promulgated pursuant
we 1L U.S.C, § 110(h) setting a maximum fee for services chargedhte by hanknuptcy petition
preparers, | have given ie debtor nofies of the wraximum amount before pitparing any 03:
document for ing fora debtor or arcepting any fee from, the debtor, as eatired in that.

section. Official Form 393 is atlachod, -

Palated Mame and title, 2 any, of Sakrapicy Palio Rea

Social Security Number (if the hankmptey petition preparer is not an hinidel, sate the
Sosial Seaurity munber of the officer, principal, responsible person or beer ot he
bankruptey petites gerparer.) (Required by 11 US, c. Sltay

Addsess

Date :
Signature of Sankruptey Petition Propates-or officer, principal, meee parson, ar
partner whose social security number is provided above.

Namex and Social Seeurity numbers of aif other individuals who prepared or assisted i in
preparing this document unless the banlemuptey petition preparer is nat an individual:

Hf more than one person prepared this document, auth additional sheets confoning w.
the appropriate official form for each person, . :

A bankruptcy petition prepares faliuee in comply vith the provisions af site if end the
Federal Roles af Bonkmuptey Peacedure may result in fines ar inpriseniacat ay bath dP USE

RLP1-3306326-1
Case 08-11586-KG Doc1 Filed 07/29/08. Page-4 of 27

RIDER1

Pending Bankruptcy Cases Filed by Affiliates of the Debtor:
Each Concurrently I Eiled i it the Us United States Bankruptey Court for fhe District of Delaware

. On the date of this petition, eich of the affiliated entities listed below Gnictuding
the debtor in this chapter 11 case) filed in this Court a voluntary petition for relief under chapter
11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101-1532. Contemporaneously with the

filing of their’ petitions, such, entities filed a motion requesting, joint administration of their
| chepter ; 11 cases. .

Lo . Mervyn" § Holdings, LLC, a Delaware lintited liabil ity company’
2, Mervyn’ $ LLC, a California limited lability conipany

. . 3. | Mervyn’ s Brands, LLC, a Minnesota limited lability company

’ Mervyn's Holdings, LLC was the first of these affiliates to commence its chapter 11 case.

RLE1-3306326-1
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
MERVYN’S HOLDINGS, LLC, ) Case No. 08- ( )
a Delaware limited liability company }
)
Debtor. )

LIST OF CREDITORS HOLDING
THE THIRTY LARGEST UNSECURED CLAIMS

The debtor in this chapter 11 case and certain affiliated entities (collectively, the “Debtors”)! each
filed a voluntary petition in this Court on July 29, 2008 (the “Petition Date’) for relief under chapter 11 of the
United States Bankruptcy Code, 11 U.S.C. §§ 101-1532. The following is a list of the Debtors’ thirty largest
unsecured creditors on a consolidated basis (the “Top 30 List”), based on the Debtors’ books and records as
of the Petition Date. The Top 30 List was prepared in accordance with Rule 1007(d) of the Federal Rules of
Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases. The Top 30 List does not include: (1)
persons who come within the definition of an “insider” set forth in 11 U.S.C. § 101G1); or (2) secured
creditors, unless the value of the collateral is such that the unsecured deficiency places the creditor among the
holders of the thirty largest unsecured claims. The information presented in the Top 30 List shall not
constitute an admission by, nor is it binding on, the Debtors. The failure of the Debtors to list a claim as
contingent, unliquidated or disputed does not constitute a waiver of the Debtors’ right to contest the validity,
priority, and/or amount of any such claim.

Name of Creditor

Name, Telephone Number, Fax Number,

Nature of Claim

Indicate if Claim isAmount of

Attn: Robert Hanson, President & Loreen
'Zakem, President of Levi Wholesale
Telephone: (415) 501-4168

and (415) 501-4805
Facsimile: (415} 501-3907

and Complete and Compiete Mailing Address including|(Trade Debt, Bank Contingent, Claim

Mailing Address, zip code of employee, agent or Loan, Government ‘Unliquidated, (if secured,

Including Zip Cede department of creditor familiar with contract) ‘Disputed, or state value of
claim who may be contacted Subject to Setoff  eouri ty)

Levi Strauss & Co. {1155 Battery St. Trade Debt $12,758,951
San Fancisco, CA 94111

| The Debtors in these cases, along with the last four digits of their federal tax identification numbers for each of the

Debtors, are Mervyn’s Holdings, LLC (7931), Mervyn’s LLC (4456) and Mervyn’s Brands, LLC (8850).

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ame of Creditor
and Complete

ailing Address,
Including Zip Code

Name, Telephone Number, Fax Number, and
Complete Mailing Address including zip code
of employee, agent or department of creditor

familiar with claim who may be contacted

Natore of Claim

Loan,
Government
contract)

(Trade Debt, Bank

is Contingent,
Pa
isputed, or

Indicate if Claim

Subject to Setoff

Amount of
Claim

if secured,
state value of
security)

Wicked Fashions

222 Bruce Reynolds Blvd.
Fort Lee, NJ 07024

Attn: David Khyn, President
Telephone: (201) 242-5900
Facsimile: (201) 242-8466

rade Debt

$6,054,960

Nike USA Inc.

One Bowerman Drive
iReaverton, OR 97005

‘Attn: Mark Parker, President
Telephone: (800) 344-6453
Facsimile: (503) 671-6374

(lrade Debt

$4,723,327

Vans Inc.

110 Sycamore Ave.

Larkspur, CA 94939

Attn: Steve Murray, President
(Telephone: (888) 691-8889
Facsimile: (714) 889-6776

(Frade Debt

$2,903,656

Fashion Resource
(TCL)

3151 East Washington Blvd.
Los Angeles, CA 90023
Attn: Gerard Guez, CEO
(Telephone: (323) 780-8250
Facsimile: (323) 780-0751

[Trade Debt

$2,652,329

Manes Brand-Hanes
LW

1000 East Hanes Mill Road
Winston-Salem, NC 27105
Attn: Rich Noll, CEO
Telephone: (336) 519-6707
Facsimile: (336) 519-3335

Frade Debt

$2,593,847

Lolly Togs

100 West 33" St., Suite 1012
New York, NY 10001-2900
‘Attn: Richard Sutton, CEO
Telephone: (212) 502-6098
Facsimile: (212) 268-5160

Trade Debt

$2,578,248

VF Jeanswear Inc.

P.O, Box 21488

Greensboro, NC 27420

Attn: Bankruptcy Department
‘Telephone: (800) 353-9692
Facsimile: (336) 332-5408

(Frade Debt

$2,002,818

Jansport Inc./VF
Outdoor

2011 Fallon Drive

San Leandro, CA 94577

Attn: Steve Munn, President
Telephone: (510) 614-4030/4000
Facsimile: (510) 614-4025

Trade Debt

$1,735,339

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Name of Creditor
and Complete
Matin Address,
1

ncluding Zip Code

Name, Telephone Number, Fax Number, and
Complete Mailing Address including zip code
of employee, agent er department of creditor
familiar with claim who may be contacted

Nature of Claim

Loan,
Government
contract)

(Frade Debt, Bank

Indicate if Claim
lis Contingent,
Unliquidated,
Disputed, or
Subject to Setoff

Amount of
Claim

(#f secured,
state value of
security)

10.

anes Brand-Playtex

P.O. Box 807

Rural Hall, NC 27046
Attn: Legal Department
Telephone: (336) 519-6034
Facsimile: (336) 519-2705

Frade Debt

$1,375,829

1].

Vanity Fair Mills Inc.

136 Madison Ave.

New York, NY 10016

Atin: Anne Jardine, President Dept/Chain
‘Telephone: (212) 696-1110

Facsimile: (212} 725-5684

(Frade Debt

$1,288,882

12.

lA pron Inc.

2440 8. Sepulveda Bivd,
Los Angeles, CA 90064
Attn: Legal Dept
Felephone: (310) 473-7223
Facsimile: (310) 312-1753

Trade Debt

$1,269,258

13,

Mattel Inc,

333 Continental Blvd.

il Segundo, CA 90245

Attn: Robert Eckert, Chairman of the
iBoard/CEO and Carol Levine, VP
Telephone: (310) 252-5000
Facsimile: (310) 252-3671

‘Trade Debt

$1,194,324

14.

IB & ¥ Global
Sourcing

237 W 30th St

Los Angeles, CA 90007-3319

‘Attn: Norbert Baroukh

(Telephone: 213-744-9955

Email: norbert@byglobalsource.com

Trade Debt

$1,050,563

15.

Hanes Brand-
iBali/Barely There

2612 168th Ave. SE
Bellevue, WA 98008-5512
Attn: Brian Hottinger
(Telephone: (425) 653-2334
Facsimile: (425} 653-2335

(Trade Debt

$1,011,962

16.

Rosetti Handbags &
Accessories

10 West 33rd Street, Suite 312
New York, NY 10001

‘Attn: Lena Jones, President
‘Telephone: (646) 839-7912
Facsimile: (212) 279-3224

Trade Debt

$1,002,738

17,

Wumphreys
Accessories LLC

120 W, 45th Street, 38th Floor

New York, NY 10036

Attn: Jeffrey Spiegel, CEO and President
(Telephone: (212) 768-8800

Facsimile: (212) 768-8535

Frade Debt

$981,415

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Name of Creditor
and Complete
Mailing Address,
Including Zip Code

Name, Telephone Number, Fax Number, and
Complete Mailing Address including zip code
of employee, agent or department ef creditor
familiar with claim who may be contacted

Nature of Claim

Lean,
Government
contract}

Indicate if Claim

(Trade Debt, Bankis Contingent,

Unliquidated,
Disputed, or
Subject to Setoff

Amount of
Claim

(if secured,
tate value of
Cecurity)

18.

Delta Galil
USA/Wundies D

150 Meadowland Parkway, 2nd Floor
Secaucus, NJ 07094

Attn: Tom Witthuhn, CEO
(Telephone: (201) 902-0055
Facsimile: (201) 902- 0070

Trade Debt

$977,890

19,

Byer California

66 Potero Ave.

San Francisco, CA 94103

Attn: Alan Byer, Owner, President
‘Telephone: (415) 626-7844
Facsimile: (415) 626-7865

Trade Debt

$971,812

20,

Volumecocomo
Apparel Inc.

4160 Bandini Blvd.
Vernon, CA 90023

‘Attn: Chris Chang, CEO
Telephone: (213) 763-6111
Facsimile: (323) 881-1859

Frade Debt

$923,470

21.

Vida Shoes
International Inc.

29 West 56th St.

New York, NY 10019
Telephone: (212) 246-1900
Facsimile: (212) 581-9609

Trade Debt

$904,407

22.

Williamson-Dickie
MFG Inc.

319 Lipscomb

Fort Worth, TX 76104

Attn: Phillip Williamson, President
‘Felephone: (817) 336-7201
Facsimile: (817) 810-4454

Trade Debt

$894,181

23.

Jockey Int’! Inc.

2.300 60th Street

Kenosha, WI 53141

Attn: Bob Nolan, President
Telephone: (262) 638-8111
Facsimile: (262) 653-3079

Trade Debt

$870,437

24,

Roytex Inc.

16 East 34th Street

INew York, NY 10016
Attn: Legal Department
ifelephone: (212) 686-3500
Facsimile: (212) 686-4336

Frade Debt

$856,407

Case 08-11586-KG Doc1 Filed 07/29/08 Page 9 of 27

Name of Crediter
and Complete

Peat Address,
Including Zip Code

Name, Telephone Number, Fax

including zip code of employee, agent or
department of creditor familiar with
claim whe may be contacted

Nature of Claim

Number, and Complete Mailing Address(Trade Debt, Bank

Loan, Government
contract)

ndicate if Claim
is Contingent,

nliquidated,
Disputed, or
Subject to Setoff

Amount of
Claim

Gf secured, state
value of
security)

25,

anes Brand - Socks

P.O. Box 2765

Winston Salem, NC 27102
Telephone: (336) 519-4930
Facsimile: (336) 519-8313

(Frade Debt

$723,062

26,

KWDZ MFG
LLC/Knitworks

337 S. Anderson Street

Los Angeles, CA 90033-3742
(Telephone: (323) 526- 6526
Facsimile: (323) 526-3528

Trade Debt

$722,185

a7

Stony Apparel Corp.

1500 8. Evergreen Ave.
Los Angeles, CA 90023
Telephone: G23) 981-4241
Facsimile: (323) 981-9095

(Frade Debt

$721,618

28.

The Van Heusen Co.

200 Madison Ave.
New York, NY 10016
Attn: Manny Chirico, Chairman and CEO

(Telephone: (212} 381-3500
Facsimile: (212) 381-3970

and Allen Sirkin, President and COO

Trade Debt

$680,654

29,

IBijoux International

1280 Jersey Ave.

North Brunswick, NJ 08902
Telelphone: (732) 828-3886
Facsimile: (732) 828-3953

Trade Debt

$678,682

30.

Combine
international

354 Indusco Court

‘Troy, MI 48083
[felephone: (248) 385-9900
Facsimile: (248) 585-8641

Trade Debt

$674,538

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IN THE UNITED STATES BANKRUPTCY COURT
_- FOR THE DISTRICT OF DELAWARE

In rez . } Chapter il .
MERVYN'S HOLDINGS, LLC, ) Case No. 08. {yo

a : Delaware limited liability company }
yee oe)
Debtor. )

‘DECLARATION CONCERNIN G T HE DEBTOR? & LIST OF CREDITORS
. HOLDING THE THIRTY LARGEST UNSECURED CLAIMS

1 Charles R Kurth, Executive Vice | ‘President, Chief Financial Officer’ 4 and ‘Chiat oa
Administrative Officer ‘of Mervyn’s Holdings, LLC, a Delaware limited liability company and
the entity named as debtor in this case, declare under penalty of perjury under the laws of the

_ United States of America that I have reviewed the List of Creditors Holding the Thirty Largest

Unsecured Claims submitted herewith and that the information contained therein is tre and.
correct to the best of my information and belief. Po

Dated: Taly 29, 2008

Leon

Name: Charles R. Kurth .

. Title: _ Executive Vice President, CFO and CAO Q me

Mervyn’ 8 Holdings, LLC.

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- Case 08-11586-KG Doc1 Filed 07/29/08 Page 11 of 27

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

a In rez

) Chapter fl
MERVYN'S HOLDINGS, LLC, ) Case No. 08- tO)
oo a Delaware limited i liability company . } OO SO

os . oS >.

Debtor. oo + .
CONSOLIDATED LIST or CREDITORS |

. The debtor in this chapter il case and certain affiliated ‘entities (collectively, ‘the -
. “Debtors”) each filed a petition in this Court on July 29, 2008 for relief under chaptér 11 of the |
United States Bankcuptcy Code, 11 U.S.C. §§ 101-1532. Contemporaneously with the filing of
the petition, the Debtors filed a single consolidated list of creditors (the “Consolidated Creditor
List”), in lieu of separate lists, Due to its voluminous nature, the Consolidated Creditor List 1 is a
being submitted t to the Court electronically as an attachment hereto. . :

[information provided in electronic format]

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» Case 08-11586-KG Doci Filed 07/29/08 Page 12 of 27

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

ine re: a . V Chapter 11

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a Delaware limited Habitity company ==}.
| Debtor. oo oD

‘DECLARATION REGARDING CONSOLIDATED CREDITOR List

Lo L ‘Charles R Kurth, Executive. Vice President, Chief Financial Officer and Chief
Administrative Officer of Mervyn’ s Holdings, LLC, a Delaware limited Hability company and |
the entity named as debtor in this case, declare under penalty of perjury under the laws of the
‘United States of America that | have reviewed the Consolidated Creditor List submitted herewith |
and that the information contained therein i is true and correct to the best of my information and
belief.

Date: July 29,2008 Bont <
oe . Name: Charles R. Kurth = :
Title: Executive Vice President, CPO and ¢ CAO

‘Mervyn’ g Holdings LLC

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
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_ MERVYN? § HOLDINGS, LLC, - j Case No. 08- ek)
a a Delaware limited liability company | } ct
Debtor, oY

usr or EQUITY SECURITY HOLDERS

A list of equity security holders of Mervyn’ s Holdings, LLC and their percentage interest

is s attached hereto 4 as Schedule A.

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| SCHEDULE A
Schedule of Capital Contribations of Members,

"RETAIL MEMBERS: .

RETA
INVESTOR” “RETAL
Re -. CAPETAL » “PERCENTAGE
MEMBER'S NAME. CONTRIBUTION INTEREST
~ ScsF Mervyn's us), LLC 9g (ay 15: 484696 .
__ SCSF Mervyn's (Offshore), Inc. S$ Gq) 39.595986
Lubert-Adler Real Estate Fund $0 @) 40. 54858%
WLP . Lo
 Labert-Adier Real, sate Bo $0 (@) 12s oO
Parallel Fund TV, LPyo oo Co
“oS LubertAdler Capital | Real, $0 @ 2,66204%
J Estate Pund VLPs os se, pa

‘ComMon NPERGER NAGE
JS INTEREST |)

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ny 4 O624E
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"54, (83948
0.5000%0 2".
TT FGG80%
AAT FRE

SCSF Mervyn's its) Ine
-.  .SCSF Moervyn’s (Ofishore), LLC
* Cerberus Mervyn’ ohana, Lic.
“RLA/Meryyn’ 8 LLC,’ ,
Vanessa Castagna
Richard Leto -
: American r Equity Pe artes Ine.

RESTRICTED LEASES 3 PREFERRED MEMBERS

_ MEnaneR’s NAME - _ PREFERRED CAPITAL “PREFERRED | cage
- CONTRIBUTION __ PERCENTAGE INTEREST |

SCS¥ Mesias (US), Tak = ee we mo Saad

SCSE Bervya’s (Offshore) we 800) SO 14.005954 ~~
Cerberus Mervyn's Investors, Be BOY 24 TOTES
RLAMMeryyn’s ELE. pe SOG 55,2 125% os

(a) “As of the date heicof each Member has received ‘fall repayment of such Meinbers i int
Capital Contribution. . .

ee information a and belief.

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oN THE UNITED STATES BANKRUPTCY COURT.
a FOR THE DISTRICT OF DELAWARE |

In) ret | : Chapter i

)
MERVYNPS HOLDINGS, LLC, ot ) “Case No. 08- a
"a Delaware limited Kability company d ce, Be o
_ Debtor. = . : y

. DECLARATION CONCERNING THE DEBTOR'S List
OF EOUITY SECURITY HOLDERS

1 ‘Charles R Kurth, ‘Bxeoutive Vice President, Chief Finduetal, Officer ‘and Chief oo

Admisiststive Officer of Mervyn’s Holdings, LLC, a Delaware limited. Liability | company and.
_the entity named as debtor in this case, declare under penalty of perjury vnder the laws of the’.
United: States of America that 1 have reviewed the List of Equity Security Holders submitted :

- ‘herewith and’ that the information contained therein is true and. correct fo >the best, of my BS

Date: July 29, 2008 wea Bag <<
BPP ER AE Name: Charles R. Kurth : ee oe
- Title: Executive Vice President, oF 0 and CAO. ee
Mervyn’ s Holdings, Lic” a mo

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IN THE UNITED STATES BANKRUPTCY count a
"FOR THE DISTRICT OF DELAWARE

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Dobe a coe d a
MERVYN'S HOLDINGS, LLC, ) Case No. 08.
2 Delaware Tanita Haba company oS )
Debtor. yo

- ||” MERVYI’S HOLDINGS, LLC'S STATEMENT oe
- PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE soars) coe bate

For’ its ‘Statement Pursuant to Federal Rule of Benkmmpey Procedure 100700XD, : oo

te : Mervyn s Holdings, LLC te “Debtor ” respeciily represents that @ scsi Meriyn's g. ws) oo!

. - LLC; w scsi Mervyn’ s (Offshore), Inc,, ai Luberet-Adler Real Bstate Fund W, L P, ov) 2

fe Cerberus erie $ investors, LLC, and o KLAMereyn's s L i. c. each realy © of in rect y:

oe owns 10% or more r of any cass of the Debtor 3 ety interests Oe

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Case 08-11586-KG — Doc 1 Filed 07/29/08 Page17of27 — °

Dated: nly: 99,2008 Respectfully submitted,

Wilmington, Delaware . oe
° Mark D. Collins (No. 2581)
| Daniel J. DeFranceschi (No. 1732)" ce
» RICHARDS, LAYTON & FINGER, P. A Se
. One Rodney Square oh ad le

'- 920 North King Strect
+. Wilmington, Delaware issd1. .
"Telephone: (302) 651-7700 - a
Facsimile: (302) 651-701.

ce and
«Howard §. Beltzer
- Wendy S. Walker ., Mo
oa". MORGAN, LEWIS & BOCKTUS S LLP»
fe TOL, Park Avente ©:
New York, New York 10178
“ . + Telephone: (212) 309-6000 -
at Facsimile:, # 212)8 309-6001 .

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MERVYN'S HOLDINGS, LLC
Written Consent
of the Voting Members
as of July 27, 2008
In conformity with the Delaware Limited Liability Company Act and the Limited Liability
Company Agreement of Mervyn's Holdings, LLC, a Delaware limited liability company (the

“Company"), the undersigned, being the Voting Members of the Company (the “Voting Members"),

hereby consent in writing fo and adopt the following resolutions and take the following actions with the
same force and effect as if such resolutions had been duly adopted and such actions duly taken at a
meeting of the Voting Members duly called and convened for such purpose on the date first set forth

above, with a full quorum present and acting throughout:

Bankruptcy

WHEREAS, it has been proposed that each of the Company, Mervyn's LLC, a California
limited liability company and a wholly-owned subsidiary of the Company ("“Mervyn's"
and together with the Company, the "Mervyn's Companies"), and Mervyn's Brands, LLC,
a Minnesota limited liability company and a wholly-owned subsidiary of Mervyn's, seek
relief under the provisions of Chapter 11 of title 1] of the United States Code (the
"Bankruptcy Code"); and

WHEREAS, under Section 1.10(c) of the Limited Liability Company Agreement of the
Company (the "LLC Agreement"), the Voting Members (as defined in the LLC
Agreement) are required to authorize the Company to take a Voluntary Bankruptcy (as
defined in the LLC Agreement); and

WHEREAS, the Company Management Board (including all of the Independent
Directors) of the Company has deemed it desirable and in the best interest of the
Mervyn's Companies and each of them, their creditors, their equity holders and other
interested parties, that each of the Mervyn's Companies be authorized and empowered to
file, at such time as it is deemed necessary by the appropriate officers of each the
companies, a voluntary petition for relief under Chapter 11 of the Bankruptcy Code (the
"Petition”) in the United States Bankruptcy Court for the District of Delaware (the

"Bankruptcy Court”);

NOW, THEREFORE, BE IT RESOLVED, that the Company be, and it hereby is,
authorized, empowered and directed to take a Voluntary Bankruptcy; and

FURTHER RESOLVED, that the Company Management Board of the Company be,
and hereby is, authorized and empowered, in the name and on behalf of the Company, to
make all such arrangements, to authorize, do and perform all such acts and things, and to

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cause the officers of the Company to execute and deliver all such certificates and such
other instruments and documents as it may deem appropriate in order to take a Voluntary
Bankruptcy and to effectuate fully the purpose and intent of the foregoing resolutions,
and that any and all actions taken heretofore and hereafter to accomplish such purposes
and intents, all or singular, be, and they hereby are, approved, ratified, and confirmed.

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WITNESS the due execution hereof.

SCSF “O\ 's uy INC.

Nie Tom Pivior
Title: Vice Fiylor

SCSF AYA (US), LEC
. By: SN} /

Name: Tom ‘Paylor ¥

Title: Vice President

{Signature Page to Written Consent of the Voting Members of Mervyn's Holdings, LLC)

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-Continued-

CERBERUS MERVYN'S INVESTORS, LLC

By: Cerberus Partners, L.P.
Its: Managing Member

By: Cerberus Associates, L.L.C.
Its: General Partner

By:
Name:
Title:

{Signature Page to Written Consent of the Voting Members of Mervyn's Holdings, LLC}
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KLA/MERVYN'S L.L.C.

LUBERT-ADLER REAL FSTATE FUND IV, L.P.

By: Lubert-Adler Group IV, L.P.
Its: Genera! Partner ‘

By: Lubert-Adler Group IV, LLC
Its: General Partner

By:
Name:
Title:

LUBERT-ADLER REAL ESTATE PARALLEL
FUND IV, L.P.

By: Lubert-Adler Group FV, L.P.
Its: General Partner

By: Lubert-Adler Group IV, LLC
lis: General Partner

LUBERT-ADLER CAPITAL REAL ESTATE
FUND IV, L.P.

By: Lubert-Adler Group IV, L.P.
Its: General Partner

By: Lubert-Adler Group TV, LLC
its: General Partner

By:
Name:
Title:

[Signature Page to Written Consent of the Voting Members of Mervyn's Holdings, LLC]
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-Continued-

AMERICAN EQUITY PARTNERS, INC.

By:
Name:
Title:

{Signature Page to Written Consent of the Voting Members of Mervyn's Holdings, LLC]
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RESOLUTIONS ADOPTED
BY THE
COMPANY MANAGEMENT BOARD OF
OF

MERVYN'S HOLDINGS, LLC

At the Meeting of the Company Management Board
held on
July 27, 2008

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Bankruptcy Resolutions

WHEREAS, it has been proposed that each of Mervyn's Holdings, LLC, a Delaware
limited liability company (the "Company"), Mervyn's LLC, a California limited liability
company and a wholly-owned subsidiary of the Company ("Mervyn's" and together with
the Company, the "Mervyn's Companies"), and Mervyn's Brands, LLC, a Minnesota
limited liability company and a wholly-owned subsidiary of Mervyn's ("Mervyn's
Brands”), seek relief under the provisions of Chapter 11 of title 11 of the United States
Code (the "Bankruptcy Code"); and

WHEREAS, it has also been proposed that each of Mervyn's and Mervyn's Brands
negotiate and enter into that certain Ratification and Amendment Agreement (the "DIP
Agreement"), to be dated on or about July 28, 2008, by and among Wachovia Capital
Finance Corporation (Western) (the "Agent"), as successor to Congress Financial
Corporation (Western), in its capacity as administrative and collateral agent acting for
and on behalf of the financial institutions from time to time party to the Loan Agreement
(as defined in the DIP Agreement) as lenders (the "Lenders"), the Lenders, Mervyn's, as
borrower, and Mervyn's Brands, as guarantor, whereby, among other things, the Agent
and the Lenders agree to make certain loans and advances and to provide other financial
and credit accommodations to Mervyn's following the filing of voluntary petitions under
the Bankruptcy Code by Mervyn's and Mervyn's Brands; and

WHEREAS, the DIP Agreement has been presented to and reviewed by the Company
Management Board; and

WHEREAS, under Section 1.10(c) of the Limited Liability Company Agreement of the
Company (the "LLC Agreement"), the Company Management Board (including all of the
Independent Directors) (as defined in the LLC Agreement) is required to authorize the
Company to file a voluntary petition seeking relief under Chapter 11 of the Bankruptcy
Code; and

WHEREAS, under Section 5.1(a) of the LLC Agreement, the Company Management
Board has the power to cause Mervyn's to file a voluntary petition seeking relief under
Chapter 11 of the Bankruptcy Code;

NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Company
Management Board (including all of the Independent Directors), it is desirable and in the
best interest of the Mervyn's Companies and each of them, their creditors, their equity
holders and other interested parties, that each of the Mervyn's Companies be, and they
hereby are, authorized, empowered, and directed to file, at such time as it is deemed
necessary by the appropriate officers of each of the respective Mervyn's Companies, a
voluntary petition for relief under Chapter 11 of the Bankruptcy Code (the "Petition") and
any other ancillary documents in the United States Bankruptcy Court for the District of
Delaware (the "Bankruptcy Court"); and

FURTHER RESOLVED, that, subject to obtaining any necessary approvals of
Mervyn's and Mervyn's Brands, the Chief Executive Officer, Chief Financial Officer,
President, Executive Vice President, Senior Vice President, Vice President, General
Counsel, Secretary, Assistant Secretary, Treasurer, or Assistant Treasurer of each of the
Mervyn's Companies (each, an "Authorized Officer", and collectively, the "Authorized
Officers") be, and each of them, with full authority to act without the others, hereby is,

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authorized, empowered and directed (i) to execute and verify the Petition and any other
ancillary documents and to cause the Petition and any other ancillary documents to be
filed with the Bankruptcy Court and (ii) to perform any and all such acts as are
reasonable, advisable, expedient, convenient, proper, or necessary, in the discretion of the
Authorized Officers, to effect any of the foregoing; and

FURTHER RESOLVED, that the Authorized Officers, and such other officers as they
shall from time to time designate, be, and each of them acting alone hereby is, authorized,
empowered, and directed, on behalf of and in the name of each of the Meryvn's
Companies, and each of them, to execute, verify and file or cause to be filed all petitions,
schedules, lists, motions, objections, responses, applications, and other papers and
documents necessary or desirable in connection with the Chapter 11 cases; and

FURTHER RESOLVED, that the Authorized Officers, and such other officers as they
shall from time to time designate, be, and each of them acting alone hereby is, authorized
and directed to retain the law firms of Morgan, Lewis & Bockius LLP ("Morgan Lewis")
and Richards, Layton & Finger, P.A. ("Richards Layton") as bankruptcy counsel, to
render legal services to, and to represent, each of the Mervyn's Companies in connection
with such proceedings and all other related matters in connection therewith, on such
terms as the Authorized Officers, and such other officers as they shall from time to time
designate shall approve; and

FURTHER RESOLVED, that the Authorized Officers, and such other officers as they
shall from time to time designate, be, and each of them acting alone hereby is, authorized
and directed to retain Miller Buckfire & Co., LLC ("Miller Buckfire" and together with
Morgan Lewis and Richards Layton, the "Professionals") to render financial and
restructuring advice and services to, and to represent, each of the Mervyn's Companies in
connection with such proceedings and all other related matters in connection therewith,
on such terms as the Authorized Officers, and such other officers as they shall from time
to time designate shall approve; and

FURTHER RESOLVED, that the Authorized Officers, and such other officers as they
shall from time to time designate, be, and each of them acting alone hereby is, authorized
and directed to retain on behaif of each of the Mervyn's Companies any additional
counsel, accountants and other advisors as the Authorized Officers, or any of them, may
deem appropriate; and

FURTHER RESOLVED, that the Authorized Officers, and such other officers as they
shall from time to time designate, be, and each of them acting alone hereby is, authorized
and empowered on behalf of, and in the name of, each of the Mervyn's Companies fo
execute a plan of reorganization under Chapter 11 of the Bankruptcy Code, including any
and all modifications, supplements, and amendments thereto, and to cause the same to be
filed in the Bankruptcy Court; and

FURTHER RESOLVED, that the Authorized Officers, and such other officers as they
shall from time to time designate, be, and each of them acting alone hereby is, authorized
and directed to take or cause to be taken any and all such further actions and to execute
and deliver any and all such further instruments and documents and to pay all such
expenses, costs, fees, or taxes in each case as in his or their judgment shall be necessary
or desirable in order fully to carry out the intent and accomplish the purposes of the
resolutions adopted herein; and

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FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by any
manager, member, director, or officer of any of the Mervyn's Companies or any of the
Professionals in connection with the reorganization or liquidation of each of the Mervyn's
Companies or any matter or proceeding related thereto, or by virtue of these resolutions,
be, and they hereby are, in all respects ratified, confirmed, and approved; and

FURTHER RESOLVED, the Authorized Officers, and such other officers as they shall
from time to time designate, be, and each of them acting alone hereby is, authorized with
full power of delegations, for and in the name and on behalf of the respective Mervyn's
Companies, to amend, supplement, or otherwise modify from time to time the terms of
any documents, certificates, instruments, agreements, or other writings referred to in the
foregoing resolutions; and

FURTHER RESOLVED, that any and all actions of any member, manager, officer, or
director of each of the Mervyn's Companies taken prior to the date hereof to carry out the
purposes of the foregoing resolutions be, and they hereby are, ratified, approved, and
confirmed in all respects.

General Resolution

RESOLVED, that the officers of the Company be, and each of them hereby is,
authorized and empowered, in the name and on behalf of the Company, to make all such
arrangements, to do and perform all such acts and things, and to execute and deliver all
such officers' certificates and such other instruments and documents as they may deem
appropriate in order to effectuate fully the purpose and intent of each and ail of the
foregoing resolutions, and that any and all actions taken heretofore and hereafter to
accomplish such purposes and intents, all or singular, be, and they hereby are, approved,
ratified, and confirmed.

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